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AO 472 (Rev. 11/16; DC 1/19) Order of Detention


                                       UNITED STATES DISTRICT COURT
                                                                for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                              District  of
                                                                        of __________

                   United States of America                        )
                              v.                                   )
                                                                   )   Case No.
                                                                   )
                               Defendant                           )

                                        ORDER OF DETENTION PENDING TRIAL
                                                   Part I - Eligibility for Detention

     Upon the

                   Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
                   Motion of the Government or Court’s own motion pursuant to 18 U.S.C. § 3142(f)(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court’s findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                             Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

      A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
      presumption that no condition or combination of conditions will reasonably assure the safety of any other person
      and the community because the following conditions have been met:
          (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
                  (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                  § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
                  (b) an offense for which the maximum sentence is life imprisonment or death; or
                  (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                  Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
                  (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
                  (d) any felony if such person has been convicted of two or more offenses described in subparagraphs (a)
                  through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                  described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                  jurisdiction had existed, or a combination of such offenses; or
                  (e) any felony that is not otherwise a crime of violence but involves:
                  (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
                  (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
          (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
          § 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving rise to
          Federal jurisdiction had existed; and
          (3) the offense described in paragraph (2) above for which the defendant has been convicted was
          committed while the defendant was on release pending trial for a Federal, State, or local offense; and
          (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
          defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.


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      B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
      rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
      defendant as required and the safety of the community because there is probable cause to believe that the defendant
      committed one or more of the following offenses:
             (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
             Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21
             U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
             (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
             (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
             or more is prescribed;
             (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
             imprisonment of 20 years or more is prescribed; or
             (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
             2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
             2260, 2421, 2422, 2423, or 2425.

      C. Conclusions Regarding Applicability of Any Presumption Established Above

           The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is ordered on
           that basis, with the evidence or argument presented by the defendant summarized in Part III.C.

           The defendant has presented evidence sufficient to rebut the presumption, but after considering the presumption
           and the other factors discussed below, detention is warranted for the reasons summarized in Part III.

                OR

           The defendant has not presented sufficient evidence to rebut the presumption. Moreover, after considering
           the presumption and the other factors discussed below, detention is warranted for the reasons summarized in
           Part III.

                                   Part III - Analysis and Statement of the Reasons for Detention

  A. After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention
     hearing, the Court concludes that the defendant must be detained pending trial because the Government has
     proven:

              By clear and convincing evidence that no condition or combination of conditions of release will reasonably
              assure the safety of any other person and the community.

              By a preponderance of evidence that no condition or combination of conditions of release will reasonably
              assure the defendant’s appearance as required.

  B. In addition to any findings made on the record at the hearing, the reasons for detention include the following:

              Weight of evidence against the defendant is strong
              Subject to lengthy period of incarceration if convicted
              Prior criminal history
              Participation in criminal activity while on probation, parole, or supervision


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              History of violence or use of weapons
              History of alcohol or substance abuse
              Lack of stable employment
              Lack of stable residence
              Lack of financially responsible sureties
              Lack of significant community or family ties to this district
              Significant family or other ties outside the United States
              Lack of legal status in the United States
              Subject to removal or deportation after serving any period of incarceration
              Prior failure to appear in court as ordered
              Prior attempt(s) to evade law enforcement
              Use of alias(es) or false documents
              Background information unknown or unverified
              Prior violations of probation, parole, or supervised release

C. OTHER REASONS OR FURTHER EXPLANATION:

     The efendant’s evidence/arguments for release:
     In this threats case, Defendant requested that he be released to his home in North Carolina, where he has a roommate, and stated that he
     would comply with any conditions the Court might deem necessary. Defendant emphasized that he is presumed innocent and has never been
     convicted of a crime. He also questioned the weight of the evidence, emphasizing that some of the text messages surrounding the allegedly
     threatening messages at issue show that any threat was not genuine, but merely in jest and not intended to be taken seriously.




     Nature and circumstances of offense           :

     Defendant is charged in a criminal complaint with transmitting threats in interstate commerce, possession of an unregistered firearm, and
     unlawful possession of ammunition. In a series of text messages sent between January 4, 2021 and January 7, 2021, Defendant made multiple
     threats against elected officials, including the Mayor of D.C. and Speaker of the House. Those messages also included threats against the
     Washington, D.C. community, such as statements made as he was approaching the city that it was “war time,” that he was “3.5 hours from
     target practice,” and that he was going to “[b]urn DC to the [ ] ground.” ECF No.4 at 3 -4. Defendant drove from Colorado to Washington,
     D.C. between January 6, 2021, and January 7, 2021, with the means to carry out those threats: thousands of rounds of ammunition, including
     armor-piercing rounds, an assault-style rifle with a telescopic sight, and another firearm with a high capacity magazine. This factor thus
     weighs strongly in favor of pretrial detention.



     The              of the government’s evidence:

     The government's evidence is strong, thus this factor weighs in favor of pretrial detention. Counsel for the government
     proffered that the threatening messages were found on Defendant's cell phone, Defendant admitted the texts were his, and the
     messages were exchanged with individuals who could be called as witnesses. More, firearms and ammunition were found in
     Defendant's vehicle, which Defendant admitted was his.




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     The efendant’s history and characteristics, including criminal history:

      Defendant has a roommate at his home in North Carolina who Defendant stated could act as a third-party custodian. Defendant
      has never been convicted of a crime. More, there is no evidence of him failing to appear or failing to follow an order of a court.
      Although these factors may weigh in favor of release, the seriousness of the nature and circumstances of the offenses, and the
      strength of the government's evidence that he committed them, outweigh these characteristics. Further, the Court has taken into
      consideration the matters discussed under seal during the detention hearing which also weigh against Defendant's release.




      Defendant is charged with making threats directed at public officials, which were numerous, graphic, and of a disturbing level
      of intensity. The threats do not appear to have been made in jest. Combined with his travel from Colorado to D.C. and the
      firepower he brought with him, the undersigned had no confidence that a stay-away order and GPS monitoring, or any other
      combination of conditions, would be sufficient to reasonably ensure the safety of the community from the danger that
      Defendant's release would represent.




                                                  Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an appearance in
connection with a court proceeding.
                                                                                                 Digitally signed by G. Michael Harvey
                                                                                                 Date: 2021.01.18 12:56:10 -05'00'
Date:
                                                                               United States Magistrate Judge




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